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10   Attorney for Legal Momentum, Sanctuary for
     Families, United Abolitionists, Inc., and
11   National Coalition Against Domestic Violence
12                      IN THE UNITED STATES DISTRICT COURT
13                             FOR THE DISTRICT OF ARIZONA
14
     United States of America,                           NO. CR-18-422-PHX-SMB
15
                              Plaintiff,                 UNCONTESTED MOTION FOR
16                                                       LEAVE TO FILE BRIEF OF
     -v-                                                 AMICI CURIAE EQUALITY
17                                                       NOW, LEGAL MOMENTUM,
     Michael Lacey, et al.,                              SANCTUARY FOR FAMILIES,
18
                                                         UNITED ABOLITIONISTS, INC.,
                              Defendants.                AND NATIONAL COALITION
19
                                                         AGAINST DOMESTIC
20                                                       VIOLENCE
21

22          Equality Now, Legal Momentum, Sanctuary for Families, United Abolitionists,
23   Inc., and National Coalition Against Domestic Violence (“Amici”) move this Court for an
24   order allowing the filing of a proposed brief, which Amici have lodged concurrently with
25   this Motion, concerning the issues raised by Defendants’ Motion to Dismiss the
26   Indictment. Counsel for the United States has stated that the United States has no
27   objection to the filing of the proposed brief from Amici. The Defendants take no position
28   on the filing.
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1           The decision to grant, or deny, amicus briefing lies solely within a district court’s
2    jurisdiction, Center for Biological Diversity v. United States Bureau of Land
3    Management, No. 09-cv-8011-PCT-PGR, 2010 WL 1452863, at *2 (D. Ariz. Apr. 12,
4    2010), but “[a]n amicus brief should normally be allowed when . . . the amicus has
5    unique information or perspective that can help the court beyond the help that the lawyers
6    for the parties are able to provide,” Cmty. Ass’n for Restoration of Env’t (CARE) v.
7    DeRuyter Bros. Dairy, 54 F. Supp. 2d 974, 975 (E.D. Wash. 1999) (internal citations
8    omitted). Amici curiae often assist in cases “of general public interest, supplementing the
9    efforts of counsel, and drawing the court’s attention to law that escaped consideration.”
10   Miller-Wohl Co. v. Comm’r of Labor & Indus. of Mont., 694 F.2d 203, 204 (9th Cir.
11   1982). As further explained below, Amici are nonprofit organizations dedicated to
12   protecting and advocating for women and children.
13          Equality Now is an international human rights organization that advocates for the
14   protection and promotion of the rights of women and girls worldwide, with a membership
15   network of individuals and organizations in more than 160 countries. Founded in 1992,
16   Equality Now has a long history of working on issues of sex trafficking and sexual
17   exploitation and has been involved in advocating for action against websites that facilitate
18   sex trafficking for over 10 years.
19          Legal Momentum, the Women’s Legal Defense and Education Fund, is a national
20   nonprofit gender justice advocacy organization. For nearly 50 years, Legal Momentum
21   has been advancing equal rights for girls and women through legislative efforts, impact
22   litigation, and direct representation of clients. Its areas of focus have included
23   employment law, campus safety, sports, and all forms of gender-based violence. Legal
24   Momentum considers sex trafficking to be one of the most extreme forms of violence
25   against women and is involved in efforts to end gender-based violence perpetrated online.
26   As part of these efforts, Legal Momentum has partnered with nonprofit organizations and
27   cities throughout the country to end online commercial sexual exploitation of women and
28   girls, including sex trafficking on Backpage.com (“Backpage”). Additionally, for four


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1    decades, through its award-winning National Judicial Education Project, Legal
2    Momentum has been educating judges and court officials on issues related to gender-
3    based violence against girls and women, including cyber-related violence.
4           Sanctuary for Families (“Sanctuary”) is New York’s largest dedicated service
5    provider and advocate for victims of domestic violence, human trafficking, and related
6    forms of gender violence. Every year, Sanctuary provides legal, clinical, shelter and
7    economic empowerment services to over 15,000 victims and their children. Sanctuary
8    provides training on domestic violence and sex trafficking to community advocates, pro
9    bono attorneys, law students, service providers and the members of the judiciary.
10   Sanctuary seeks to advance and protect the rights and interests of sex trafficking victims,
11   and to prevent future victimization. Sanctuary thus has a substantial interest in preventing
12   the illegal marketing and sale of sex trafficking victims on Backpage.com. Because
13   Sanctuary has extensive experience assisting sex trafficking victims and addressing ways
14   to eliminate sex trafficking, Sanctuary is uniquely positioned to inform the Court
15   regarding issues relevant to this case. In addition, owing to the public interest nature of
16   the case as well as the important effects that this case may have on the momentum gained
17   to ensure that websites that facilitate and profit from sex trafficking are no longer free
18   from liability, Sanctuary for Families has a strong interest in the outcome of the case.
19          United Abolitionist, Inc., d.b.a. Florida Abolitionist, Inc. (“Florida Abolitionist”),
20   is a non-profit, antitrafficking organization committed to the prevention of sex trafficking
21   and to crisis intervention for sex trafficking victims.
22          The National Coalition Against Domestic Violence (“NCADV”) is the nation’s
23   oldest national grassroots domestic violence organization. NCADV’s mission is to lead,
24   mobilize, and raise our voices to support efforts that demand a change of conditions that
25   lead to domestic violence such as patriarchy, privilege, racism, sexism, and classism—the
26   same conditions that perpetuate commission of crimes such as sex trafficking. Domestic
27   violence and sex trafficking can overlap, with survivors of domestic violence also being
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1    victims of sex trafficking. NCADV is dedicated to supporting survivors and holding
2    offenders accountable.
3           The Amici maintain a strong interest in the outcome of the case because of the
4    public interest nature of the suit, and the important effects that this case may have on the
5    ability to ensure that websites that facilitate and profit from sex trafficking are no longer
6    free from liability.
7           The proposed brief reflects Amici’s extensive experience with the harms to women
8    and children caused by sex trafficking linked to Backpage. Amici submit that their
9    experience on these issues will assist the Court in deciding Defendants’ Motion to
10   Dismiss the Indictment.
11

12   Dated this 19th day of June, 2019              DAVIS POLK & WARDWELL LLP
13

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1                                CERTIFICATE OF SERVICE
2          I hereby certify that on June 19, 2019, I electronically transmitted the attached
3    document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
4    Notice of Electronic Filing to all CM/ECF registrants.
5    s/ Paul Nathanson
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